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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                 Plaintiff,
                                                            CASE NO. 1:19-CR-117
v.
                                                            HON. ROBERT J. JONKER
LARRY CHARLES INMAN,

            Defendant.
__________________________________/

                                            ORDER

       Before the Court is the government=s motion for ends of justice continuance of the final

pretrial presently scheduled for July 19, 2019, and trial scheduled for August 6, 2019. The basis

of the government=s motion is that additional time is necessary to obtain and review all relevant

medical documentation from Defendant’s treatment providers following Defendant’s Notice of

Intent to Present Evidence of Defendant’s Diminished Cognitive Ability as a Result of the Use of

Prescription Pain Medications. The government will then decide whether to move the Court for

an order requiring the Defendant to submit to an examination pursuant to Fed.R.Crim.P.

12.2(c)(1)(B).

       In addition, on June 18, 2019, the Defendant filed a Motion to Dismiss and/or for a Bill of

Particulars and a Motion to Identify Evidence the Government Intends to Introduce.            The

government’s response to the motion was just filed on July 11, 2019. The defense motion tolls the

Speedy Trial clock independently of any ends of justice continuance. Further, on June 24, 2019,

the Court ordered the parties to file supplemental briefs concerning matters separate from but

related to the pending motion to dismiss.
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       The Defendant does not concur in the government’s motion for continuance. However, the

Court believes a continuance is necessary and warranted to address the Defendant’s motion and

notice. The Court finds that the ends of justice served by the granting of a continuance outweighs

the best interest of the public and the Defendant in a speedy trial.

       A hearing on Defendant’s motion to dismiss is scheduled for August 9, 2019 at 10:00 a.m.

the Court will reset the final pretrial conference and trial schedule after deciding the motion to

dismiss.




Dated: July 12, 2019                            /s/ Robert J. Jonker
                                               ROBERT J. JONKER
                                               CHIEF UNITED STATES DISTRICT JUDGE
